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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                      )
                                                  )
                        v.                        )     DOCKET NO. 06-10427-PBS
                                                  )
    JEFFREY SHIELDS                               )
                                                  )


    UNITED STATES OF AMERICA                      )
                                                  )
                        v.                        )     DOCKET NO. 06-10439-PBS
                                                  )
    JOEL WETMORE                                  )
                                                  )
    UNITED STATES OF AMERICA      )
                                  )
                  v.              )   DOCKET NO. 06-10449-PBS
                                  )
    CHARLES PEAVY                 )
                                  )
               MOTION FOR APPOINTMENT OF CO-COUNSEL

       Now come defendants Jeffrey Shields, Joel Wetmore, and Charles Peavy through counsel

and request that this Court appoint attorney John Swomley as co-counsel. The defendants so

request because Mr. Swomley has substantial experience litigating Sexually Dangerous Person

cases in Massachusetts state courts and is on the Criminal Justice Act list. Defendants request

that Mr. Swomley be appointed to all three cases, because the cases present very similar issues,

and his appointment on all of them will advance the preparation and resolution of the cases.
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                                                         JEFFREY SHIELDS
                                                         JOEL WETMORE
                                                         CHARLES PEAVY
                                                         By their attorneys,

                                                         /s/ Page Kelley
                                                         Page Kelley
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on February 27,
2007.

                                                      /s/ Page Kelley
                                                      Page Kelley
